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                       MARINE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA
 BISSO MARINE, LLC                                       CIVIL ACTION NO.
         Plaintiff
                                                         SECTION “ “
 v.
                                                         JUDGE:
 JONATHAN MILLER
                                                         DIVISION “       ”
         Defendant
                                                         MAGISTRATE JUDGE


                     COMPLAINT FOR DECLARATORY JUDGMENT

        Bisso Marine, LLC (“Bisso”), a Louisiana limited liability company authorized to do and

doing business in the State of Louisiana, respectfully avers the following:

                                                   1.

        This action arises under the General Maritime Law of the United States, with jurisdiction

premised upon 28 U.S.C. §1333. Bisso seeks a determination pursuant to 28 U.S.C. §2201 that it

is not liable to defendant Jonathan Miller (“Miller”) for maintenance and cure benefits.

                                                   2.

        These claims are asserted in Admiralty under the provisions of and within the meaning of

F.R.C.P. 9(h). Venue is proper in this Court pursuant to 28 U.S.C. §1391, as Miller entered into

his employment contract with Bisso within this district, Bisso’s diving operations were managed

within this district, and the events giving rise to the issues herein occurred within this district.

                                                   3.

        Defendant Miller is a resident of Houston, Texas who sought and obtained employment

with Bisso through its dive department based in New Orleans, Louisiana.



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                                                 4.

       Miller alleges that he suffered an injury to his back while picking up a ten-pound box of

paper on board Bisso’s lay barge MIGHTY CHIEF on May 23, 2013. Bisso immediately began

paying maintenance and cure, and has done so continuously since that time.

                                                 5.

       On May 24, 2013, Miller was seen by the medic on board the MIGHTY CHIEF. The

medic’s report notes that Miller had been suffering from “back soreness for couple weeks.”

                                                 6.

       On September 13, 2013, Miller was seen by Melissa Oehl Garcia, a certified physician’s

assistant selected by Miller, at the Barnard Family Health Center. PA Garcia’s records from that

visit report that there was “no known injury” and that Miller “denies work injury”.

                                                 7.

       On September 19, 2013, Miller was seen by Dr. Masroor Ahmed, a physician selected by

Miller. Dr. Ahmed noted in his report of that same date that Miller “denies any injury or accident”.

                                                 8.

       Defendant Miller alleges that he remains injured, disabled from employment, and that

despite the passing of more than four and a half years, he has not yet reached maximum medical

improvement (“MMI”).




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                                                 9.

       Contrary to Miller’s allegations concerning his medical condition and inability to work,

Bisso recently discovered that Miller has been operating a steam cleaning business for at least the

past year and a half.

                                                 10.

       Miller has engaged in vigorous physical labor, directly contradicting what he has told Bisso

and his physicians concerning his physical abilities and medical condition.

                                                 11.

       Bisso seeks a judgment declaring that Miller is not entitled to additional maintenance and

cure benefits on two grounds: (i) Miller’s alleged injuries did not manifest while he was in the

service of the vessel, and (ii) Miller has misrepresented his physical abilities and medical condition

and is no longer in need of medical treatment for the alleged injuries he claims manifested while

he was in the service of the vessel.

                                                 12.

       An actual controversy within the jurisdiction of this Court exists with regard to the matters

stated herein.

       WHEREFORE, all premised considered, Plaintiff Bisso Marine, LLC respectfully prays

that after all legal delays and due proceedings had, there be judgment herein declaring that

defendant, Jonathan Miller, is not entitled to maintenance and cure benefits from Bisso, and for

such other relief to which Bisso may be entitled under the law, including but not limited to

attorneys’ fees and costs.


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                                   Respectfully submitted:

                                   /s Raymond T. Waid
                                   ________________________________
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